             Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 1 of 24




                                           UNITED STATES DISTRICT COURT
                                             DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                                               :

v.                                                                     :       CRIM. NO. 3:20-CR-71 (VAB)

AHMAD ELSHAZLY                                                         :       February 22, 2022


           MEMORANDUM IN SUPPORT OF MOTION TO DISMISS INDICTMENT


INTRODUCTION .......................................................................................................................... 2

BACKGROUND ............................................................................................................................ 3

ARGUMENT .................................................................................................................................. 4

     I. THE SUPERSEDING INDICTMENT’S FAILURE TO STATE A CRIME AGAINST
     THE UNITED STATES VIOLATES THE FIFTH AMENDMENT ......................................... 4

        A.        The Indictment Fails to Allege Coordination with ISIS ............................................... 5

        B.        Coordination with ISIS Is an Essential Element of a § 2339B Offense ....................... 8

        C.        The Defect in the Indictment Is Fatal to Both Count One and Count Two ................ 19

     II. IN THE ALTERNATIVE, COUNT TWO OF THE SUPERSEDING INDICTMENT
     SHOULD BE DISMISSED BECAUSE IT VIOLATES THE FIRST AMENDMENT .......... 21

     III. IN THE ALTERNATIVE, AS APPLIED TO THE CONDUCT ALLEGED IN COUNT
     TWO OF THE SUPERSEDING INDICTMENT, § 2339B IS UNCONSTITUTIONALLY
     VAGUE .................................................................................................................................... 22

CONCLUSION ............................................................................................................................. 23
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 2 of 24




                                       INTRODUCTION

       The second superseding indictment in this case charges Mr. Ahmad Elshazly with two

counts of attempting to provide material support to the Islamic State of Iraq and al-Sham (ISIS) in

violation of 18 U.S.C. § 2339B(a)(1). Both counts of the superseding indictment should be

dismissed pursuant to the First and Fifth Amendments of the United States Constitution and Fed.

R. Crim. P. 12(b)(3)(A)(v) and 12(b)(3)(B)(v).

       The two counts should be dismissed because they fail to state an offense against the United

States and fail to ensure Mr. Elshazly faces trial only on charges that have been properly presented

to the grand jury, as required by the Fifth Amendment. Specifically, as explained below, the

government has failed to allege Mr. Elshazly attempted to coordinate with ISIS or to place himself

directly under ISIS’s control. Section 2339B, however, specifically forbids prosecution of

individuals acting independently of a terrorist organization. Mr. Elshazly should not face trial

where the government has not – and likely cannot – demonstrate to a grand jury that his conduct

is actually criminal conduct, rather than activity constitutionally protected by the First

Amendment.

       In the alternative, insofar as the superseding indictment alleges conduct within § 2339B’s

scope, Count 2 of the superseding indictment still should be dismissed for two additional reasons.

As applied to this charged conduct, § 2339B (i) improperly criminalizes speech in violation of the

First Amendment; and (ii) is so vague it violates the Fifth Amendment.




                                                 2
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 3 of 24




                                         BACKGROUND

       On December 16, 2019, federal authorities arrested Mr. Ahmad Elshazly pursuant to a

complaint alleging that he committed one count of “Attempting to Provide Material Support and

Resources to a Foreign Terrorist Organization” in violation of 18 U.S.C. § 2339B. (ECF No. 1.)

Mr. Elshazly appeared in court on that date and was ordered detained. (ECF No. 2.) He has

remained detained for the past 26 months.

       On May 20, 2020, a grand jury returned an indictment likewise alleging Mr. Elshazly

attempted to violate § 2339B, specifically by providing himself as “personnel.” (ECF No. 48.)

       On March 15, 2021, a grand jury returned the operative superseding indictment (ECF No.

83, attached as Exhibit 1) which charges two § 2339B attempt counts. Count One alleges that:

       On or about September 4, 2018, through on or about December 15, 2019, in the
       District of Connecticut and elsewhere, the defendant AHMAD KHALIL
       ELSHAZL Y knowingly attempted to provide material support and resources, as
       that term is defined in Title 18, United States Code, Section 2339A(b)(l) , that is ,
       personnel, namely himself, to the Islamic State of Iraq and al-Sham ("ISIS") , which
       at all relevant times was designated by the Secretary of State as a foreign terrorist
       organization pursuant to Section 219 of the Immigration and Nationality Act,
       knowing that ISIS was a designated foreign terrorist organization, and knowing that
       ISIS had engaged in, and was engaging in, terrorist activity and terrorism , and the
       defendant AHMAD KHALIL ELSHAZL Y was a United States citizen and the
       offense occurred in whole and in part within the United States.

Count Two alleges that:

       On or about September 4, 2018 , through on or about December 15, 2019, in the
       District of Connecticut and elsewhere, the defendant AHMAD KHALIL ELSHAZL
       Y knowingl attempted to provide material suppo1i and resources, as that term is
       defined in Title 18, United States Code, Section 2339A(b)(l), that is, services, by
       administering chat rooms and servers to distribute propaganda and recruitment
       materials, to the Islamic State oflraq and al-Sham ("ISIS"), which at all relevant times
       was designated by the Secretary of State as a foreign terrorist organization pursuant to
       Section 219 of the Immigration and Nationality Act, knowing that ISIS was a
       designated foreign terrorist organization, and knowing that ISIS had engaged in, and
       was engaging in, terrorist activity and terrorism, and the defendant AHMAD KHALIL
       ELSHAZLY was a United States citizen and the offense occurred in whole and in part
       within the United States.



                                                  3
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 4 of 24




                                          ARGUMENT

I.     THE SUPERSEDING INDICTMENT’S FAILURE TO STATE A CRIME
       AGAINST THE UNITED STATES VIOLATES THE FIFTH AMENDMENT

       Mr. Elshazly has a Fifth Amendment right to be tried only upon charges properly presented

to a grand jury. The superseding indictment in this case, however, fails to allege that Mr. Elshazly

acted (or attempted to act) in coordination with a terrorist organization. Absent an allegation that

Mr. Elshazly actually coordinated with ISIS, the present charges against him violates his First

Amendment right to free speech.

       The Fifth Amendment to the Constitution of the United States of America states that “No

person shall be held to answer for a capital, or otherwise infamous crime, unless on a presentment

or indictment of a Grand Jury[.]” U.S. Const., amend. V. The grand jury is a critical judicial

safeguard. It

       is designed as a means, not only of bringing to trial persons accused of public
       offenses upon just grounds, but also as a means of protecting the citizen against
       unfounded accusation, whether it comes from government, or be prompted by
       partisan passion or private enmity. No person shall be required, according to the
       fundamental law of the country, except in the cases mentioned, to answer for any
       of the higher crimes unless this body, consisting of not less than sixteen nor more
       than twenty-three good and lawful men, selected from the body of the district, shall
       declare, upon careful deliberation, under the solemnity of an oath, that there is good
       reason for his accusation and trial.

In re Charge to Grand Jury, 30 F. Cas. 992, 993 (C.C.D. Cal. 1872) (quoted in United States v.

Dionisio, 410 U.S. 1, 18, 93 (1973)).1 “The very purpose of the requirement that a man be indicted




1
  Offering further explanation, the Supreme Court also has stated that “Historically, this body has
been regarded as a primary security to the innocent against hasty, malicious and oppressive
persecution; it serves the invaluable function in our society of standing between the accuser and
the accused, whether the latter be an individual, minority group, or other, to determine whether a
charge is founded upon reason or was dictated by an intimidating power or by malice and personal
ill will.” Wood v. Georgia, 370 U.S. 375, 390 (1962).


                                                 4
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 5 of 24




by grand jury is to limit his jeopardy to offenses charged by a group of his fellow citizens acting

independently of either prosecuting attorney or judge.” Stirone v. United States, 361 U.S. 212, 218

(1960). The grand jury “belongs to no branch of the institutional Government, but rather serv[es]

as a kind of buffer or referee between the Government and the people.” United States v. Thomas,

274 F.3d 655, 670 (2d Cir. 2001) (internal quotation marks omitted).

       Because the superseding indictment fails to set out every required component of an offense

against the United States, it cannot be said here that a grand jury has properly declared “upon

careful deliberation, under the solemnity of an oath, that there is good reason for his accusation

and trial.” 30 F. Cas. at 993. Specifically, the superseding indictment fails to give any suggestion

that the grand jury was aware that § 2339B applies only to “activities . . . directed to, coordinated

with, or controlled by foreign terrorist groups,” Humanitarian Law Project, 130 S. Ct. at 2709, let

alone that the grand jury found Mr. Elshazly attempted to engage in such ISIS directed,

coordinated, or controlled conduct. Without a showing that this case was properly presented to the

grand jury and the grand jury made such a “coordination” finding — which the government likely

cannot make here — this matter cannot proceed to trial without violating the Fifth Amendment.

                A.      The Indictment Fails to Allege Coordination with ISIS

       The second superseding indictment alleges that Mr. Elshazly provided material support to

a terrorist organization in violation of 18 U.S.C. § 2339B(a)(1), which specifies the following

“unlawful conduct”:

       Whoever knowingly provides material support or resources to a foreign terrorist
       organization, or attempts or conspires to do so, shall be fined under this title or
       imprisoned not more than 20 years, or both, and, if the death of any person results,
       shall be imprisoned for any term of years or for life. To violate this paragraph, a
       person must have knowledge that the organization is a designated terrorist
       organization (as defined in subsection (g)(6)), that the organization has engaged or
       engages in terrorist activity (as defined in section 212(a)(3)(B) of the Immigration
       and Nationality Act), or that the organization has engaged or engages in terrorism



                                                 5
         Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 6 of 24




       (as defined in section 140(d)(2) of the Foreign Relations Authorization Act, Fiscal
       Years 1988 and 1989).

18 U.S.C. § 23339B(a)(1).

       In turn, the term “material support or resources” is defined as:


       any property, tangible or intangible, or service, including currency or monetary
       instruments or financial securities, financial services, lodging, training, expert
       advice or assistance, safehouses, false documentation or identification,
       communications equipment, facilities, weapons, lethal substances, explosives,
       personnel (1 or more individuals who may be or include oneself), and
       transportation, except medicine or religious materials[.]

18 U.S.C. § 2339A(b)(1).2

       Section 2339B(h), however, imposes a significant limitation on application of the statute.

Regarding allegations that a person has provided material support in the form of personnel to a

terrorist organization, the statute provides:

       No person may be prosecuted under this section in connection with the term
       “personnel” unless that person has knowingly provided, attempted to provide, or
       conspired to provide a foreign terrorist organization with 1 or more individuals
       (who may be or include himself) to work under that terrorist organization's direction
       or control or to organize, manage, supervise, or otherwise direct the operation of
       that organization. Individuals who act entirely independently of the foreign
       terrorist organization to advance its goals or objectives shall not be considered
       to be working under the foreign terrorist organization's direction and control.

18 U.S.C. § 2339B(h) (emphasis added). As relevant here, this limitation means the statute is

triggered only if Mr. Elshazly was working at ISIS’s “direction or control.” Id. It is not triggered

by independent action—even if Mr. Elshazly specifically intended for his independent acts to




2
  See 18 U.S.C. § 2339B(g)(4) (“the term ‘material support or resources’ has the same meaning
given that term in section 2339A (including the definitions of “training” and “expert advice or
assistance” in that section”).


                                                 6
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 7 of 24




advance ISIS goals or objectives. Id.

       Further, § 2339B(i) provides a “Rule of construction” stating that “Nothing in this section

shall be construed or applied so as to abridge the exercise of rights guaranteed under the First

Amendment to the Constitution of the United States.” 18 U.S.C. § 2339B(i).

       Consistent with these express statutory limitations (which reflect amendments to the statute

subsequent to its initial passage)3, the United States Supreme Court has held that “‘personnel’ does

not cover advocacy by those acting entirely independently of a foreign terrorist organization.”

Holder v. Humanitarian Law Project, 561 U.S. 1, 130 S. Ct. 2705, 2709 (2010).

       The Supreme Court further articulated that the term “service” as it applies to a material

support allegation “refers to concerted activity, not independent advocacy.” Humanitarian Law

Project, 130 S. Ct. at 2709. Or, put slightly differently, “service” refers to “advocacy performed

in coordination with, or at the direction of, a foreign terrorist organization.” Id. After reading the

term “service” as so limited, the Court went on to hold that “the statute is carefully drawn to cover

only a narrow category of speech to, under the direction of, or in coordination with foreign groups

that the speaker knows to be terrorist organizations.” Id. at 2710.

       Finally, the Supreme Court in Humanitarian Law Project made clear these restrictions on

the scope of criminalized conduct under the material support statute are not merely limits on the

specific definitions of “personnel” and “service.” Rather, they reflect a broader limitation on the

material support statute’s reach. The Court’s holding, that the material support statute did not

violate the First Amendment as applied in that case, turned in part on its emphasizing that




3
  See Holder v. Humanitarian L. Project, 561 U.S. 1, 12 (2010) (describing modifications of the
statute under the Intelligence Reform and Terrorism Prevention Act of 2004 (IRTPA)).


                                                  7
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 8 of 24




       Congress has been conscious of its own responsibility to consider how its actions
       may implicate constitutional concerns. Most importantly, Congress has avoided
       any restriction on independent advocacy, or indeed any activities not directed
       to, coordinated with, or controlled by foreign terrorist groups.

Id. at 2711 (emphasis added).

       Contravening these important, express limitations, the superseding indictment contains no

allegation that Mr. Elshazly attempted to act in coordination with ISIS. See Ex. 1 (Indictment).

Nor does the indictment in any way inform the grand jury that the statute is not meant to abridge

free speech or independent advocacy in any way – that, as the Supreme Court stated, “Congress

has avoided any restriction on independent advocacy, or indeed any activities not directed to,

coordinated with, or controlled by foreign terrorist groups.” Id. at 2711. To the contrary, the

superseding indictment’s plain language entirely excludes any reference to coordinated activity or

that such coordination is a prerequisite to prosecution. Of particular note, the indictment makes no

references to § 2339B(h), specifying that “No person may be prosecuted under this section in

connection with the term ‘personnel’ unless that person has knowingly provided, attempted to

provide, or conspired to provide a foreign terrorist organization with 1 or more individuals (who

may be or include himself) to work under that terrorist organization's direction or control or to

organize, manage, supervise, or otherwise direct the operation of that organization.”

        B.      Coordination with ISIS Is an Essential Element of a § 2339B Offense

       The absence of this language in the superseding indictment raises the fundamental question

at issue in this motion: is this language necessary for a valid indictment? No circuit courts appear

to have offered a direct answer. And, while several district courts have answered in the negative,

as discussed below these decisions are mistaken. For the reasons that follow, this Court should

now recognize that Congress intended coordinated conduct to be a requisite element of a § 2339B

offense and, hence, that “coordinated conduct” must be a part of the grand jury’s conclusions and



                                                 8
         Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 9 of 24




expressly stated in the grand jury’s indictment.

        “An indictment must contain[ ] the elements of the offense charged.” Hamling v. United

States, 418 U.S. 87, 117 (1974). Accordingly, an indictment fails to state an offense against the

United States if it lacks an element of the charged crime. United States v. Resendiz-Ponce, 549

U.S. 102, 117 (2007). Each element of an offense is a “constituent part” of the crime charged,

which the prosecution must prove to sustain a conviction under a given statute. United States v.

Innie, 7 F.3d 840, 850 (9th Cir. 1993). The indictment must set out on its face the essential facts

alleged, and may not merely refer to the statute charged: “The text of an indictment gives the

necessary assurance that the grand jurors knew and agreed to charge that which the text describes;

but it gives no comparable assurance that the grand jurors considered or were advised as to the

terms of a statutory section that is referred to only by a naked number.” United States v. Gonzalez,

686 F.3d 122, 132 (2d Cir. 2012).

        Where a defendant challenges the validity of an indictment, the timing of such an objection

“is important to the level of scrutiny employed; a defendant who objects to the indictment before

trial . . . is entitled to a more exacting review of the indictment than one who waits until after trial

to object.” United States v. Pirro, 212 F.3d 86, 91-93 (2d Cir. 2000). In either case, however,

“[o]nly a defect so fundamental that it causes the ... the indictment no longer to be an indictment,

gives rise to the constitutional right not to be tried.” Midland Asphalt Corp. v. United States, 489

U.S. 794, 802 (1989).

        In most cases, “[containing] the elements of the offense charged,” Hamling, 418 U.S. at

117, is not a particularly difficult hurdle for an indictment to clear. Generally, “an indictment need

do little more than to track the language of the statute charged and state the time and place (in

approximate terms) of the alleged crime” to pass constitutional muster. United States v. Tramunti,




                                                   9
         Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 10 of 24




513 F.2d 1087, 1113 (2d Cir. 1975). This general statement, however, does not always hold true

in specific cases, and it does not hold true here.

         The general expectation that tracking the language of the statute will suffice is not a rule,

but an empirical observation that most statutory offense provisions, most of the time, contain

language good enough to get the job done. The actual rule, articulated by the Supreme Court well

over a hundred years ago in United States v. Carll, is that reliance on statutory language is

sufficient only if it achieves the underlying purpose of an indictment, which is to “fully, directly,

and expressly, without any uncertainty or ambiguity, set forth all the elements necessary to

constitute the offence intended to be punished”:

         In an indictment upon a statute, it is not sufficient to set forth the offence in the
         words of the statute, unless those words of themselves fully, directly, and expressly,
         without any uncertainty or ambiguity, set forth all the elements necessary to
         constitute the offence intended to be punished; and the fact that the statute in
         question, read in the light of the common law, and of other statutes on the like
         matter, enables the court to infer the intent of the legislature, does not dispense with
         the necessity of alleging in the indictment all the facts necessary to bring the case
         within that intent.

105 U.S. 611, 611–13 (1881); accord, e.g., United States v. Santeramo, 45 F.3d 622, 624 (2d Cir.

1995).

         A few years after Carll, the Supreme Court reiterated that implicit or inferential allegations

was not enough to prevent an indictment from being fatally defective:

         The general, and with few exceptions, of which the present case is not one, the
         universal, rule, on this subject, is that all the material facts and circumstances
         embraced in the definition of the offense must be stated, or the indictment will be
         defective. No essential element of the crime can be omitted without destroying the
         whole pleading. The omission cannot be supplied by intendment or implication,
         and the charge must be made directly, and not inferentially, or by way of recital.

United States v. Hess, 124 U.S. 483, 486 (1888). Accord United States v. Kilpatrick, 821 F.2d

1456, 1463 (10th Cir. 1987), aff'd sub nom. Bank of Nova Scotia v. United States, 487 U.S. 250,

108 S. Ct. 2369 (1988).


                                                     10
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 11 of 24




       Recent decisions highlight some examples of circumstances in which reliance on statutory

language alone results in a defective indictment. Perhaps most fundamentally, a defendant “cannot

be convicted on the basis of facts not found by, and perhaps not even presented to, the grand jury.”

United States v. Keith, 605 F.2d 462, 464 (9th Cir. 1979). Accordingly, where “the statute alone

does not set forth all the essential elements of the offense, the indictment is insufficient which

simply tracks the language of the statute.” United States v. Opsta, 659 F.2d 848, 850 (8th Cir.

1981). An indictment may fail to set out all requisite elements, for example, where “one element

of the offense is implicit in the statute, rather than explicit” and the indictment “fails to allege the

implicit element explicitly.” Pirro, 212 F.3d at 93 (citation and internal quotation marks omitted).

       Even where all elements are set out in the statute, the statutory terms may not be sufficiently

specific, requiring elaboration in the indictment:

       where the definition of an offence, whether it be at common law or by statute,
       includes generic terms, it is not sufficient that the indictment shall charge the
       offence in the same generic terms as in the definition, but it must state the species,
       — it must descend to particulars. ... A crime is made up of acts and intent; and these
       must be set forth in the indictment, with reasonable particularity of time, place, and
       circumstances.

United States v. Cruikshank, 92 U.S. 542, 544, 23 L. Ed. 588 (1875); accord, e.g., Russell v. United

States, 369 U.S. 749, 766 (1962) (indictment defective where “defendants were charged with

refusing to answer a question pertinent to the subject under inquiry before a congressional

subcommittee, but the indictments did not say what the subject under inquiry was”); United States

v. Serrano, 191 F. Supp. 3d 287, 290 (S.D.N.Y. 2016) (holding that “because the essential

jurisdictional element of § 931(a) is concealed in an unreferenced, subsidiary statutory provision,

it is not sufficient for the grand jury’s Indictment to ‘track’ the ‘generic terms’ of the overarching

statute, and omit mention of the element. Accordingly, Count Two is dismissed for failure to plead

the essential element of interstate commerce”).



                                                  11
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 12 of 24




       In addition to the requirement that an indictment provide all the facts and elements of an

offence, an indictment must also “state the time and place (in approximate terms) of the alleged

crime.” Tramunti, 513 F.2d at 1113. The “time and place” requirement not only provides a means

of giving notice to a defendant of when and where they have allegedly committed a crime, but it

also ensures the indictment states an offense within the temporal and geographical limitations set

out in the applicable statute.

       Section 2399B’s temporal limitation period appears in 18 U.S.C. § 3282(a), which

prescribes a five year period of limitation. An indictment that fails to indicate that the offense fell

within this limitations period is fatally defective and cannot sustain a valid conviction. The Tenth

Circuit has explained:

       In Russell v. United States, 369 U.S. 749, 770, 82 S.Ct. 1038, 8 L.Ed.2d 240, the
       Supreme Court said that an indictment may not be amended except by resubmission
       to the grand jury, unless the change is merely a matter of form.
       A defective allegation of time is a matter of form if time is not an essential element
       of the offense and if the indictment charges facts showing that the offense was
       committed within the period of the statute of limitations. Butler v. United States, 10
       Cir., 197 F.2d 561, 562, and Weatherby v. United States, 10 Cir., 150 F.2d 465,
       467. This is not a case where the defect is an incorrect date within the limitation
       period. Cf. United States v. Arge, 10 Cir., 418 F.2d 721. Here the omission of the
       year prevents the indictment from charging an offense within the statute of
       limitations. The defect was not one of form and the district court was without
       power to make the amendment. See Stewart v. United States, 8 Cir., 395 F.2d
       484, 488.

United States v. Gammill, 421 F.2d 185, 186 (10th Cir. 1970) (emphasis added).

       Because failure to allege an offense within the limitations period is a fundamental defect

in the indictment, a motion to dismiss on this basis may be brought prior to trial pursuant to Rule

12 of the Federal Rules of Criminal Procedure. A recent decision out of the Southern District of

New York elaborates:

       A defendant may move under Rule 12(b) to dismiss an indictment for alleged
       violations of the statute of limitations, and a court may decide such a motion when
       the arguments can be analyzed “from the face of the indictment” without resorting


                                                  12
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 13 of 24




       to any determination of “evidentiary questions.” See United States v. Sampson, 898
       F.3d 270, 279 (2d Cir. 2018) (citation omitted). “When deciding a motion to dismiss
       pursuant to Federal Rule of Criminal Procedure 12(b), a court must accept all
       factual allegations in the indictment as true.” United States v. Thomas, 492 F. Supp.
       2d 405, 412 (S.D.N.Y. 2007).

United States v. Colello, No. 20 CR 613-LTS-1, 2022 WL 220216, at *1 (S.D.N.Y. Jan. 25, 2022).

See also Toussie v. United States, 397 U.S. 112, 113–14 (1970) (noting that a defendant charged

in 1967 under an indictment alleging a willful failure to register for the draft in 1959 may raise the

statute-of-limitations issue in a pre-trial motion) (cited in Sampson).

       Grounds for a motion to dismiss an indictment may also arise if an indictment alleges

conduct outside the court’s territorial jurisdiction. See, e.g. United States v. Jho, 534 F.3d 398, 404

(5th Cir. 2008) (entertaining motion to dismiss on territorial jurisdictional grounds, but denying

motion where statute criminalized conduct “while in a United States port, and that the

government's indictment charges such conduct”); United States v. Ionia Mgmt. S.A., 498 F. Supp.

2d 477, 484 (D. Conn. 2007) (same).

       Given the above, a valid indictment must set out facts supporting each material element of

the charged offense against the United States, which offense was committed within that offense’s

established limitations. These requirements reflect what the Supreme Court in Carll described as

the “necessity of alleging in the indictment all the facts necessary to bring the case within that

intent [of the legislature].” 105 U.S. at 613.

       Here, the clearly expressed intent of Congress is that, with respect to charges brought under

§ 2339B, “No person may be prosecuted under this section in connection with the term “personnel”

unless that person has knowingly provided, attempted to provide, or conspired to provide a foreign

terrorist organization with 1 or more individuals (who may be or include himself) to work under

that terrorist organization's direction or control or to organize, manage, supervise, or otherwise

direct the operation of that organization.” Section 2339B(h) (emphasis added). The indictment, in


                                                  13
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 14 of 24




failing to allege conduct so qualifying, fatally fails to allege conduct within the scope of what

Congress intended to be prosecuted (at least under a “personnel” theory).

       To the extent that it is important to classify the Congressional dictate expressed in §

2339B(h), it is maybe best analogized to a statute of limitation. Indeed, the phrasing of §

2339B(h)’s admonition that “no person may be prosecuted…” directly echoes the phrase Congress

used in the applicable statute of limitation, which states that “no person shall be prosecuted, tried,

or punished for any offense, not capital, unless the indictment is found or the information is

instituted within five years next after such offense shall have been committed.” 18 U.S.C. §

3282(a). This phrase “no person [shall / may] be prosecuted,” moreover, appears recurrently in

other statutes of limitation throughout the federal code. See, e.g., 18 U.S.C. § 3294 (“shall”); 18

U.S.C. § 3300 (“may”); 21 U.S.C. § 2403(b)(1) (“shall”); 31 U.S.C. § 333(d)(2) (“may”); 52

U.S.C. § 30145 (“shall”).

       Recognizing § 2339B(h) as a limitation that must be considered by the grand jury and

appear expressly in the indictment charging a 2339B offense is consistent with the readily

understood meaning of the language itself. “No person may be prosecuted” is most naturally read

as expressing a congressional intent to limit who may be prosecuted under the statue even if that

person’s conduct factually satisfies the other core provisions of the statute.

       Moreover, Congress crafted § 2339B(h) following a Ninth Circuit decision holding that

portions of the material support statute, including its application to “personnel,” were

impermissibly vague under the First and Fifth Amendments. See Humanitarian Law Project v.

U.S. Dep't of Just., 352 F.3d 382, 404 (9th Cir. 2003) (holding that because “‘personnel’ could be

construed to include unequivocally pure speech and advocacy protected by the First

Amendment . . . the term ‘personnel’ is void for vagueness”), opinion vacated on reh'g en banc,




                                                 14
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 15 of 24




393 F.3d 902 (9th Cir. 2004) (en banc decision affirming judgment but vacating injunction due to

Congressional amendment of the statute). See also Humanitarian Law Project, 561 U.S. at 12

(describing history). Coupled with § 2339B(i)’s caution that “Nothing in this section shall be

construed or applied so as to abridge the exercise of rights guaranteed under the First Amendment

to the Constitution of the United States,” Congress crafted § 2339B(h) as a substantive and

constitutionally mandated limitation on the otherwise apparent scope of § 2339B. By restricting

the scope of prosecutable conduct, 2339B(h) acts as a statute of limitation.

       A valid indictment must allege facts that place the conduct within the scope of the

applicable provision of limitation. Here, the indictment offers nothing to suggest that the grand

jury found facts that would place the conduct here within the bounds of the express limits set by §

233B(h). Therefore the indictment – especially Count One which attempts to assert that Mr.

Elshazly provided himself as personnel to ISIS – must fail.

       No circuit court has directly addressed the question of whether an indictment alleging

material support under § 233B must allege coordination with a terrorist organization. Several

district courts, however, have tackled the question, with the Eastern District of New York decision

in United States v. Pugh, No. 1:15-CR-00116-NGG, 2015 WL 9450598 (E.D.N.Y. Dec. 21, 2015)

serving as the leading case on the issue. See United States v. Augustine, No. 18 CR 393 (SJ) (RML),

2021 WL 1381060, at *2 (E.D.N.Y. Apr. 13, 2021) (following Pugh); United States v. Shafi, 252

F. Supp. 3d 787, 793 (N.D. Cal. 2017) (same).

       In Pugh, the court framed the issue of whether coordination must be alleged in the

indictment as turning on the question of “whether Section 2339B(h) is an essential element of the

material support offense, an affirmative defense, or merely a definition of the term ‘personnel[.]’”

Pugh, 2015 WL 9450598, at *7. The court went on to hold that “The fairest reading of Section




                                                15
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 16 of 24




2339B(h) suggests that its limitations on the meaning of ‘personnel’ are definitional—not, as Pugh

argues, an essential element, nor, as the Government argues, an affirmative defense. In making

this determination, the court recognizes that plausible alternative readings of the statute are

defensible.” Id. at *8. The court reasoned as follows:

       First, subsection (h) begins: “No person may be prosecuted under this section in
       connection with the term 'personnel'[.]” The use of the phrase “the term
       'personnel,'” with personnel in quotation marks, indicates that subsection (h) was
       intended to piggy-back on the statutory term “personnel” as used in the defined
       term “material support or resources.” Subsection (h) then goes on to limit the scope
       of that definition. It appears, therefore, that Section 2339B(h) was intended by
       Congress to be definitional.

       Second, the structure of subsection (h) suggests that it was not intended to be an
       affirmative defense or an element of the statute, but rather was intended to be
       definitional. Subsection (h) provides that, in the context of a prosecution for a
       defendant's material support in the form of “personnel” (only one type of material
       support criminalized by the statute), no individual may be convicted under Section
       2339B unless “that person has knowingly provided, attempted to provide, or
       conspired to provide a foreign terrorist organization with 1 or more individuals
       (who may be or include himself) to work under that terrorist organization's direction
       or control or to organize, manage, supervise, or otherwise direct the operation of
       that organization.” That language materially tracks the substantive offense outlined
       in Section 2339B(a)(1), which begins “[w]hoever knowingly provides material
       support or resources to a foreign terrorist organization, or attempts or conspires to
       do so” shall have committed the offense. Of course, “material support or resources”
       is a defined term that includes the provision of “personnel.” The only material
       difference, then, between Section 2339B(h) and Section 2339B(a), in the context
       of “personnel,” is that Section 2339B(h) pulls back on the breadth of the term
       “personnel.” Put another way, subsection (h) is doing nothing more than limiting
       the breadth of Section 2339B(a)(1) with regard to “personnel” offenses.

       Third, Section 2339B(h) would not function like a typical affirmative defense. As
       discussed above, Section 2339B(h) does not add any additional factual
       considerations that would tend to negate a crime (i.e., the affirmative defense of
       insanity adds facts, namely facts showing insanity, that negate the criminal element
       of mens rea). Rather, it simply circumscribes the breadth of a term defined in the
       substantive offense. Accordingly, Section 2339B(h) overlaps with an element of
       the crime—specifically, the element of material support or resources. Affirmative
       defenses generally do not overlap with substantive elements of the offense. See,
       e.g., Martin v. Ohio, 480 U.S. 228,233 (1987) (finding that insanity could be made
       an affirmative defense to murder because it did not shift the burden of proof to the
       defendant to disprove any elements of the offense); Patterson v. New York, 432
       U.S. 197, 206-07 (1977) (noting that legislatures can create an affirmative defense


                                                16
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 17 of 24




       unless doing so requires the defendant to negative an element of the crime).
       Because Congress is presumed to have legislated against the backdrop of judicial
       understanding of affirmative defenses, see Midlantic Nat. Bank v. N.J. Dep't of
       Env't Prot., 474 U.S. 494, 501 (1986), the court concludes that Section 2339B(h)'s
       departure from normal principles of affirmative defenses indicates that it is, in fact,
       not an affirmative defense.

Id. at *8–9 (footnote omitted).

       While Mr. Elshazly does not take issue with the Pugh Court’s analysis explaining the

provision is not an affirmative defense4, he does dispute the court’s conclusion that coordination

need not be specifically asserted in the indictment. As discussed below, that conclusion suffers

from three fatal flaws: (i) it poses a false choice, incorrectly assuming that the language of §

2339B(h) must represent an element, an affirmative defense, or a definition; (ii) it incorrectly

assumes definitional provisions need never be pled; and (iii) the Pugh court’s analytically cramped

scope of inquiry fails to consider whether a conviction based upon an indictment that does not

factually allege coordination offends the rule that a defendant “cannot be convicted on the basis of

facts not found by, and perhaps not even presented to, the grand jury.” Keith, 605 F.2d at 464.

       First, Pugh begins from an assumption that the language of § 2339B(h), “No person may

be prosecuted under this section in connection with the term ‘personnel’. . .” must be either an

element of the offense, an affirmative defense, or a definitional provision. But as the discussion

above suggests, this set of categories is underinclusive. Most significant, it excludes the category

of provisions that includes statutes of limitation. These provisions, which are classically

formulated as specifying that “no person shall be prosecuted,” are not typically characterized as




4
  In this regard, United States v. Ahmed, No. 15 CR 49, 2015 U.S. Dist. LEXIS 171561, at *6-7
(D. Minn. Sept. 1, 2015), holding that § 2339B(h) is an affirmative defense, appears to contain
virtually no analysis in support of its holding.


                                                 17
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 18 of 24




setting out elements of an offense, but they nevertheless describe factual conditions that must be

satisfied for a prosecution or conviction to be valid. Consequently, a facial defect with respect to

a statute of limitation may lead to dismissal of that indictment. See, e.g., Colello, 2022 WL 220216,

at *1. In crafting § 2339B(h), Congress selected language (“No person may be prosecuted”) that

directly tracks the traditional formulation of a statute of limitation. Congress used this provision,

moreover, to set out a factual condition—coordination—that must be satisfied as a condition to a

valid prosecution. Section 2339B(h) looks like a statute of limitation, and quacks like a statute of

limitation, but Pugh (and its progeny) incorrectly fail even to consider whether, as a statute of

limitation, it must be included in the text of the indictment.

       Second, even if Pugh rightly categorized § 2339B(h) as definitional, it does not follow that

the indictment can therefore exclude any reference to that provision. To the contrary, the Pugh

court expressly recognized the substantive impact of § 2339B(h) on what constitutes an offense

under § 2339B – viz, that it “pulls back on the breadth of the term ‘personnel.’” Pugh, 2015 WL

9450598, at *8-9. Irrespective of how it is categorized, a provision like § 2339B(h), that limits the

conduct that may properly lead to a conviction, must be pled for an indictment to stand.

       Tellingly, Pugh offers no authority of any kind for the proposition that a definitional

provision need never be included in an indictment. Indeed, somewhat ironically, the discussion in

Pugh actually explains why facts consistent § 2339B(h) must be pled in the indictment:

       The determination of whether Section 2339B(h) is an essential element of the
       material support offense, an affirmative defense, or merely a definition of the term
       “personnel,” has potentially profound implications. First, if Section 2339B(h)
       creates an essential element—but not if it provides for an affirmative defense or
       defines a term in the statute—it must be pleaded in the indictment. Second, if §
       2339B(h) is either an essential element or defines an element of the crime, it must
       be proven by the Government beyond a reasonable doubt. Patterson v. New York,
       432 U.S. 197, 210 (1977) (due process requires that the prosecution prove all
       elements of a crime beyond a reasonable doubt).

Pugh, 2015 WL 9450598, at *7. Again, a review of this passage reveals no authority for the notion


                                                 18
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 19 of 24




that a definitional provision need not be included in an indictment. This passage acknowledges,

however, (and this time with citation) that if a provision “defines an element of the crime, it must

be proven by the Government beyond a reasonable doubt.” Id. Just as the elements that define a

crime collectively constitute the crime, the provisions that define an element are constituent parts

of that element. If any are missing, the element is not satisfied. A valid indictment must therefore

contain all constituent parts of every element. Simply put: a valid indictment must demonstrate

that the jury understood, considered, and found present every constituent part of an offense.

       Third, the Pugh decision loses sight of the forest for the trees. The question of whether a

valid indictment needs to allege coordination with ISIS is not at its core a matter of parsing

statutory structure to assign labels. An indictment must show that the grand jury found probable

cause as to the existence of every fact needed to sustain a conviction. See, e.g., Carl, 105 U.S. at

613 (recognizing the “necessity of alleging in the indictment all the facts necessary to bring the

case within that intent [of the legislature]”). In enacting § 2339B(h), Congress expressed its intent

that no person be convicted absent a showing of coordination with a terrorist organization (thereby

saving the statute from unconstitutional overbreadth as held by the Ninth Circuit in Humanitarian

Law Project). On its face, an indictment that, as here, is silent as to coordination with ISIS fails to

allege “all the facts necessary to bring the case within that intent.”

      C.      The Defect in the Indictment Is Fatal to Both Count One and Count Two

       Count 1 of the superseding indictment, which alleges that Mr. Elshazly attempted to

provide personnel to ISIS, falls explicitly within the limitation set forth in § 2339B(h). However,

Count 2 of the indictment, which alleges that Mr. Elshazly attempted to provide services to ISIS,

suffers from the same fatal flaw.

       While “service” does not fall expressly within the scope of § 2339B(h)’s coordination




                                                  19
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 20 of 24




requirement, the United States Supreme Court has held that the term “service” as it applies to a

material support allegation “refers to concerted activity, not independent advocacy.”

Humanitarian Law Project, 130 S. Ct. at 2709. The Supreme Court further explained that this

conclusion flows in part from the structure of § 2339B: “if independent activity in support of a

terrorist group could be characterized as a ‘service,’ the statute's specific exclusion of independent

activity in the definition of ‘personnel’ would not make sense. Congress would not have prohibited

under ‘service’ what it specifically exempted from prohibition under ‘personnel.’” Id. at 2722. A

prosecution under a “service” theory thus must make the same showing of coordination as required

for a prosecution under a “personnel” theory. And coordination is key:

       Under the material-support statute, [individuals] may say anything they wish on
       any topic. They may speak and write freely about the PKK and LTTE, the
       Governments of Turkey and Sri Lanka, human rights, and international law. They
       may advocate before the United Nations. As the Government states: “The statute
       does not prohibit independent advocacy or expression of any kind”

Id. at 2722–23; accord id. at 2711 (“Congress has avoided any restriction on independent

advocacy, or indeed any activities not directed to, coordinated with, or controlled by foreign

terrorist groups.”). Absent coordination, any and all advocacy or expression by Mr. Elshazly – no

matter how copious or vociferous – is not a “service” to ISIS or any other terror organization.

       Count 2 of the superseding indictment does not allege, as Congress intended to require,

that Mr. Elshazly attempted to engage in “advocacy performed in coordination with, or at the

direction of, a foreign terrorist organization.” Id. Rather, it alleges only that Mr. Elshazly provided

services “by administering chat rooms and servers to distribute propaganda and recruitment

materials” (Ex. 1), actions that do not by their nature suggest or require coordination or direction

by ISIS. Accordingly, Count 2 of the indictment is fatally deficient.

       For all the foregoing reasons, Counts 1 and 2 of the superseding indictment should be

dismissed because they each fail to state an offense against the United States.


                                                  20
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 21 of 24




II.    IN THE ALTERNATIVE, COUNT TWO OF THE SUPERSEDING INDICTMENT
       SHOULD BE DISMISSED BECAUSE IT VIOLATES THE FIRST AMENDMENT

       “Content-based laws — those that target speech based on its communicative content — are

presumptively unconstitutional and may be justified only if the government proves that they are

narrowly tailored to serve compelling state interests . . . . Government regulation of speech is

content based if a law applies to particular speech because of the topic discussed or the idea or

message expressed.” Reed v. Town of Gilbert, Ariz., 576 U.S. 155, 163 (2015) (citations omitted).5

       For the reasons above, the indictment in this case fails because it does not allege

coordination with ISIS. This essential element is, as the Supreme Court explained in Humanitarian

Law Project, an important aspect of what saves the constitutionality of the statute. Far from

criminalizing speech, “Under the material-support statute, [individuals] may say anything they

wish on any topic. They may speak and write freely about the PKK and LTTE, the Governments

of Turkey and Sri Lanka, human rights, and international law. They may advocate before the

United Nations. As the Government states: ‘The statute does not prohibit independent advocacy

or expression of any kind.’” Humanitarian Law Project, 130 S. Ct. at 2722–23.

       In apparent contradiction to its representations to the Supreme Court that “independent




5
  The Supreme Court has further elaborated: “[A]s a general matter, the First Amendment means
that government has no power to restrict expression because of its message, its ideas, its subject
matter, or its content. As a result, the Constitution demands that content-based restrictions on
speech be presumed invalid ... and that the Government bear the burden of showing their
constitutionality. In light of the substantial and expansive threats to free expression posed by
content-based restrictions, this Court has rejected as startling and dangerous a free-floating test for
First Amendment coverage ... [based on] an ad hoc balancing of relative social costs and benefits.
Instead, content-based restrictions on speech have been permitted, as a general matter, only when
confined to the few historic and traditional categories [of expression] long familiar to the bar.”
United States v. Alvarez, 567 U.S. 709, 715–17 (2012) (citations and internal quotation marks
omitted).


                                                  21
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 22 of 24




advocacy or expression of any kind” is not prohibited, the government now seeks to prosecute Mr.

Elshazly for “administering chat rooms and servers to distribute propaganda and recruitment

materials” (Ex. 1), without any showing (or claim) that the charged dissemination of information

was anything other than independent advocacy by Mr. Elshazly.

       Notwithstanding its refusal to strike down the material support statute under the facts then

before it, the Supreme Court in Humanitarian Law Project emphasized that “we in no way suggest

that a regulation of independent speech would pass constitutional muster, even if the

Government were to show that such speech benefits foreign terrorist organizations. . . . We simply

hold that, in prohibiting the particular forms of support that plaintiffs seek to provide to foreign

terrorist groups, § 2339B does not violate the freedom of speech.” Humanitarian Law Project, 130

S. Ct. at 2730 (emphasis added). See also 18 U.S.C. § 2339B(i) (“Nothing in this section shall be

construed or applied so as to abridge the exercise of rights guaranteed under the First Amendment

to the Constitution of the United States.”).

       Because independent advocacy in the form of disseminating propaganda does not fall

within the narrow classes of speech outside of First Amendment protections, the government

cannot sustain its burden of showing that § 2339B validly criminalizes the conduct alleged in

Count 2 of the superseding indictment.

III.   IN THE ALTERNATIVE, AS APPLIED TO THE CONDUCT ALLEGED IN
       COUNT TWO OF THE SUPERSEDING INDICTMENT, § 2339B IS
       UNCONSTITUTIONALLY VAGUE

       A conviction fails to comport with due process if the statute under which it is
       obtained fails to provide a person of ordinary intelligence fair notice of what is
       prohibited or is so standardless that it authorizes or encourages seriously
       discriminatory enforcement. We consider whether a statute is vague as applied to
       the particular facts at issue, for [a] plaintiff who engages in some conduct that is
       clearly proscribed cannot complain of the vagueness of the law as applied to the
       conduct of others. We have said that when a statute interferes with the right of free
       speech or of association, a more stringent vagueness test should apply. But perfect
       clarity and precise guidance have never been required even of regulations that


                                                22
       Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 23 of 24




       restrict expressive activity.

Humanitarian Law Project, 130 S. Ct. at 2718–19 (citations and internal quotation marks omitted).

       Applying those standards here, the conduct alleged in Count 2 of the superseding

indictment plainly falls outside the scope of the conduct proscribed by § 2339B. But if the alleged

conduct – “administering chat rooms and servers to distribute propaganda and recruitment

materials” (Ex. 1) – were to somehow be shoehorned into the statute’s reach, a person of ordinary

intelligence would have nothing resembling fair notice of what is or is not prohibited, especially

where the Supreme Court has declared that “[t]he statute does not prohibit independent advocacy

or expression of any kind.’” Humanitarian Law Project, 130 S. Ct. at 2722–23. Accordingly,

Count 2 of the superseding indictment should be dismissed as unconstitutionally vague.

                                        CONCLUSION

       For the reasons stated above, the second superseding indictment should be dismissed.

                                             Respectfully submitted,

                                             THE DEFENDANT,
                                             Ahmad Elshazly

                                             OFFICE OF THE FEDERAL DEFENDER

Date: February 22, 2022                      /s/ James P. Maguire
                                             James P. Maguire
                                             Assistant Federal Defender
                                             265 Church Street, Suite 702
                                             New Haven, CT 06510
                                             Phone: (203) 498-4200
                                             Bar No.: ct29355
                                             Email: james_maguire@fd.org

                                             Sabrina Shroff,
                                             80 Broad St. 19th Floor
                                             New York, New York 10004




                                                23
        Case 3:20-cr-00071-VAB Document 113 Filed 02/22/22 Page 24 of 24




                             CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 22, 2022, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of
this filing will be sent to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

                                               /s/ James P. Maguire
                                               James P. Maguire




                                                  24
